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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI

    GREGORY WATERS, on behalf of himself       )
    and all others similarly situated,         )
                                               )
                       Plaintiff,              )      CASE NO.: 4:19-cv-02467-SNLJ
                                               )
                v.                             )      Removed from the Circuit Court
                                               )      of St. Louis Co., State of
    THE HOME DEPOT USA, INC.,                  )      Missouri 19SL-CC02121
                                               )
                       Defendant.              )


              MOTION FOR LEAVE TO WITHDRAW APPEARANCE

         COMES NOW John C. Drake of the law firm Greensfelder, Hemker & Gale, P.C.,

(“Greensfelder”) and hereby requests leave of Court to withdraw his appearance as

counsel for Defendant The Home Depot USA, Inc.1 In support of the motion, Mr. Drake

states as follows:

            1. John C. Drake is currently an attorney at Greensfelder, Hemker & Gale,

P.C. and has entered his appearance as counsel of record for Defendant in this case.

            2. Mr. Drake has accepted a new position and, as of October 18, 2019, will no

longer be an attorney at Greensfelder.

            3. Accordingly, Mr. Drake seeks to withdraw as counsel for Defendant in this

case.



1
 Plaintiff improperly named The Home Depot USA, Inc. in his state court complaint.
The Home Depot USA, Inc. does not exist, and Plaintiff presumably intended to name
Home Depot U.S.A., Inc. (“Home Depot”) as the defendant in this case. Home Depot
will address this issue at the appropriate time.
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          4. Defendant will not be prejudiced by this withdrawal. Defendant will

continue to be represented by Greensfelder and its attorneys Russell K. Scott, Ronnie L.

White II and Kathleen Howard along with S. Stewart Haskins, J. Andrew Pratt, and Misty

L. Peterson of King & Spalding LLP.

       WHEREFORE, John C. Drake respectfully requests that the Court grant this

request for leave to withdraw as counsel for Defendant and that Mr. Drake be removed

from the Electronic Case Filing Service List for this case.



Dated: October 17, 2019                   GREENSFELDER, HEMKER & GALE, P.C.

                                          By     /s/ John C. Drake
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                                                 Attorneys for Defendant
                                                 The Home Depot USA, Inc.




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                                                Attorneys for Defendant
                                                The Home Depot USA, Inc.


                            CERTIFICATE OF SERVICE

      The undersigned certifies that on this 17th day of October, 2019, a true and correct
copy of the foregoing document was electronically filed with the Court’s CM/ECF
System.


                                                /s/ John C. Drake
1821087




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